                                                                                               Case 3:13-cv-00575-MMC Document 106 Filed 03/21/14 Page 1 of 2



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                                                                                         7
                                                                                              Attorneys for Defendant/Counterclaimant,
                                                                                         8    KIRBY MORGAN DIVE SYSTEMS, INC.

                                                                                         9
                                                             Facsimile: (310) 394-4477




                                                                                                                       UNITED STATES DISTRICT COURT
                                                                                         10
                                                                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                         11
                                         SANTA MONICA, CALIFORNIA 90401
CISLO & THOMAS LLP




                                                                                         12
                                                                                              SURFACE SUPPLIED, INC., a California )        CASE NO. CV 13-0575 MMC
                                                                                         13   corporation,                              )
            Attorneys at Law
                                                 1333 2 nd Street




                                                                                                                                        )   [Hon. Maxine M. Chesney]
                                                   SUITE 500




                                                                                         14                 Plaintiff,                  )
                                                                                                                                        )   [PROPOSED] ORDER GRANTING JOINT
                                                                                         15                                             )   ADMINISTRATIVE MOTION TO FILE
                                                                                                      vs.                               )   SETTLEMENT AGREEMENT UNDER
                        Telephone: (310) 451-0647




                                                                                         16                                             )   SEAL
                                                                                              KIRBY MORGAN DIVE SYSTEMS, INC.,)
                                                                                         17   a California Corporation,                 )
                                                                                                                                        )
                                                                                         18                 Defendant.                  )
                                                                                                                                        )
                                                                                         19   _______________________________           )
                                                                                                                                        )
                                                                                         20   KIRBY MORGAN DIVE SYSTEMS, INC.,))
                                                                                              a California Corporation,                 )
                                                                                         21
                                                                                                                                        )
                                                                                         22                                             )
                                                                                                            Counterclaimant,            )
                                                                                         23                                             )
                                                                                                      vs.                               )
                                                                                         24                                             )
                                                                                              SURFACE SUPPLIED, INC., a California )
                                                                                         25   corporation; Heliox TECHNOLOGIES,         )
                                                                                              INC., a California corporation; and JASON )
                                                                                         26   VAN DER SCHYFF, an individual, and        )
                                                                                              DOES 1-9,                                 )
                                                                                         27                                             )
                                                                                                            Counter-Defendants.         )
                                                                                         28                                             )
                                                                                                                                        )

                                                                                                                                                [Proposed] Order Granting Joint Admin. Motion to File
                                                                                                                                            1                       Settlement Agreement Under Seal
                                                                                                                                                                           Case No. C 13-0575 MMC
                                                                                               Case 3:13-cv-00575-MMC Document 106 Filed 03/21/14 Page 2 of 2



                                                                                         1                                         [PROPOSED] ORDER
                                                                                         2           The parties to this action (“the Parties”) have applied to this Court for an order allowing
                                                                                         3    them to file under seal Exhibit A to the Declaration of Daniel M. Cislo. Exhibit A comprises
                                                                                         4    an executed copy of the Parties’ settlement agreement. The Parties desire to file the agreement
                                                                                         5    under seal in order to protect the confidentiality of business information referenced in the
                                                                                         6    agreement.
                                                                                         7           Upon consideration of the Parties’ Joint Motion, this Court finds that the Parties have
                                                                                         8    demonstrated good cause to file the referenced document under seal, and therefore,
                                                                                         9
                                                             Facsimile: (310) 394-4477




                                                                                         10          Accordingly,
                                                                                         11
                                         SANTA MONICA, CALIFORNIA 90401
CISLO & THOMAS LLP




                                                                                         12          IT IS HEREBY ORDERED THAT:
                                                                                         13
            Attorneys at Law
                                                 1333 2 nd Street
                                                   SUITE 500




                                                                                         14          The Parties’ Administrative Motion to File Settlement Agreement Under Seal is
                                                                                         15   GRANTED.
                        Telephone: (310) 451-0647




                                                                                         16
                                                                                         17   IT IS SO ORDERED.
                                                                                         18
                                                                                              Date: ______________,
                                                                                                     March 21       2014
                                                                                         19
                                                                                                                                                   Hon. Maxine M. Chesney
                                                                                         20                                                        United States District Judge

                                                                                         21
                                                                                         22
                                                                                         23   Respectfully submitted,
                                                                                              CISLO & THOMAS, LLP
                                                                                         24
                                                                                         25
                                                                                              By:    /s/Daniel M. Cislo
                                                                                         26          Daniel M. Cislo
                                                                                                     David B. Sandelands
                                                                                         27
                                                                                                     Mark D. Nielsen
                                                                                         28          Attorneys for Defendant and Counterclaimant,
                                                                                                     KIRBY MORGAN DIVE SYSTEMS, INC.

                                                                                                                                                    [Proposed] Order Granting Joint Admin. Motion to File
                                                                                                                                              2                         Settlement Agreement Under Seal
                                                                                                                                                                               Case No. C 13-0575 MMC
